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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

MATTHEW THOMAS, JR.                               :
        Plaintiff,                                :
                                                  :
              v.                                  :      CIVIL ACTION NO. 13-3946
                                                  :
UNITED STATES MEDICAL LICENSING                   :
EXAMINATION, et al.                               :
          Defendants.                             :
                                                  :

                                          ORDER

       AND NOW, this 27th day of December 2013, upon consideration of a letter from counsel

for Defendant National Board of Medical Examiners dated December 26, 2013, it is hereby

ORDERED that the parties’ discovery dispute is REFERRED to Chief Magistrate Judge Carol

Sandra Moore Wells for resolution.

       It is so ORDERED.


                                                         BY THE COURT:

                                                         /s/ Cynthia M. Rufe

                                                         _____________________
                                                         CYNTHIA M. RUFE, J.
